            Case 3:09-cr-05601-BHS         Document 271         Filed 06/01/15    Page 1 of 1




 1
                                UNITED STATES DISTRICT COURT
 2                             WESTERN DISTRICT OF WASHINGTON
                                         AT TACOMA
 3

 4      UNITED STATES OF AMERICA,                          CASE NO. CR09-5601BHS

 5                         Plaintiff-Respondent,           ORDER DENYING MOTION FOR
                                                           REDUCTION OF SENTENCE
 6               v.

 7      SAUL AGUILAR-SAGUN

 8                         Defendant-Movant.

 9
            This matter comes before the court on Defendant-Movant Saul Aguilar-Sagun’s (Aguilar-
10
     Sagun) Motion to Reduce Sentence Pursuant to 18 U.S.C. § 3582. Dkt. 262. The court has
11
     reviewed the motion and the government’s response (Dkt. 270).
12
            Defendant seeks a reduction in sentence based on Amendment 788 to the Sentencing
13
     Guidelines which made Amendment 782 to USSG 2D1.1. Because the sentence that Aguilar-
14
     Sagun is serving is the applicable mandatory minimum sentence required by 21 U.S.C. §
15
     841(b)(1)(A), Defendant is ineligible for a reduction in sentence under 18 U.S.C. 3582(c)(2) and
16
     his motion should be denied.
17
            NOW, THEREFORE, IT IS HEREBY ORDERED that Aguilar-Sagun’s Motion to
18
     Reduce Sentence Pursuant to 18 U.S.C. § 3582 is DENIED.
19
            Dated this 1st day of June, 2015.
20

21

22
                                                   A
                                                   BENJAMIN H. SETTLE
                                                   United States District Judge
23

24


     ORDER - 1
